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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON(s)

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                                   NOTICE OF APPEARANCE

         The Government hereby gives notice that the undersigned attorney of the Special Counsel’s

  Office is appearing on behalf of the United States in the above-captioned matter.



                                               Respectfully submitted,

                                               JACK SMITH
                                               Special Counsel
                                               N.Y. Bar No. 2678084

                                       By:     /s/ James I. Pearce
                                               James I. Pearce
                                               Assistant Special Counsel
                                               Special Bar ID #A5503077
                                               950 Pennsylvania Avenue, NW
                                               Washington, D.C. 20530


  March 6, 2024
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 6, 2024, I electronically filed the foregoing document with

  the Clerk of the Court using CM/ECF, which in turn serves counsel of record via transmission of

  Notices of Electronic Filing.

                                              /s/ James I. Pearce
                                              James I. Pearce
